UN|TED STATES D|STR|CT COURT
WESTERN LSTR|CT OF NEW YC_)RK
17-CR-6089 DGL

UN|TED STATES OF AMER|CA
DEFENDANT'S SENTENC|NG
v. v STATEMENT AND REQUEST
FOR A NON-GUiDEL|NE
SENTENCE

Craig Jerabeck,

Defendant.

 

JAl\/lES NOBLES, ESQ., affirms as folioWs:

l. l am an attorney licensed to practice law in the State of NeW York and the
United States District Court for the Western District of NeW York, and l represent Craig
Jerabeck.

2. l make this affirmation pursuant to the requirements of Section 6A1.2
of the Sentencing Guidelines and Rule 32(f) of the Federal Ru|es of Criminal Procedure.

3. in accordance With those rules, l have reviewed the Pre-sentence
investigation Report dated September 24, 2018 (hereinafter the "PSR"), and have
discussed it With my client. The Defense filed an Objection to the Presentence
investigation Report on October 9, 2018 With respect to the overbroad and
unsubstantiated information contained therein.

4. The representations made in this Sentencing l\/lemorandum are based

on the PSR, conversations With l\/ir. Jerabeck and others, and the following exhibits:

Exhibit A: Statement of Craig Jerabeck;

Exhibit B: Letters from:

Exhibit C:
Exhibit D:
Exhibit E:

Exhibit F:

1. John G. Doyle, Jr., President and CEO of a local
business and longtime friend, dated September 14, 2018;

2. Robin Hoffman, longtime employee of l\/lr. Jerabeck,
dated September 18, 2018;

3. l\/lichael Weiner, friend and business associate, dated
GCtober 3, 2018;

4. Jeff Parness, friend and colleague, dated l\/lay 16, 2018;
5. Craig Jerabeck, Jr., son, undated;

6. Cornelia l\/l. Reeves, colleague, undated;

7. Andrew Behe, employee, dated October 4, 2018;

8. Vinson l\/lontgomery, colleague, dated October 5, 2018;

9. John J. l\/larchaesi, colleague and friend for three
decades, dated September 16, 2018;

10.Jamie Trovato, friend and colleague, undated;
11.Kraig Kayser, President and CEO of Seneca Foods
Corporation, and friend for over 15 years, dated

September 14, 2018;

12.Carl Steinbrenner, friend and business associate, dated
October 5, 2018;

13. Elizabeth Watson, daughter, dated October 4, 2018;
14. Katherine Jerabeck, daughter, dated October 11, 2018.
Craig Jerabeck’s Linkedln biography;

5Linx media;

5Linx charitable giving media;

New York State Common Retirement Fund investment in
5Linx articles.

lNIBQDLLQIlQN
5. Craig Jerabeck pled guilty to Count 1 and Count 2 of the Superseding

lndictment, respectively charging 18 U.S.C. 1349, Conspiracy to Commit Wire Fraud,
and 26 U.S.C. 7206 (1), Filing a False Tax Return for the year 2014.

6. Sentencing is currently scheduled for Thursday, November 1, 2018, at 10
a.m.

SENTENCiNG STATEMENT

7. The government and the defendant agree that Guidelines §§ 2B1.1(a)
apply to the offense of conviction and provide for a base offense level of 7. The
government and the defendant further agree that three specific offense characteristics
apply: a) USSG §2B1.1(b)(1)(l): the total loss was in excess of $1,500,000, and thus
there is a 16 offense level increase; b) USSG §2B1.1(b)(10)(C): offense involved
sophisticated means, 2 level increase; and c) USSG §3B1.3: abuse of trust/special skili,
2 level upward adjustment, resulting in an adjusted offense level of 27. The government
agrees not to oppose the application of the two (2) level downward adjustment for
Guidelines § 3E1.1(a) (acceptance of responsibility) and agrees to move the Court to
apply the additional one (1) level downward adjustment of Guidelines §3E1.1(b),
resulting in a total offense level of 24 (PSR, Paragraphs 27-24).

8. Based upon a total offense level of 24 and a criminal history category of l,
the guideline imprisonment range is 51 to 63 months (PSR, Paragraph 31).

9. Paragraph 12 of the Plea Agreement states the original sentencing
guideline range for Mr. Jerabeck was agreed upon at a range of 51 to 63 months.

However, the Defendant also engaged in a USSG §5K1.1 agreement through which the

Government has outlined in their letter dated October 10, 2018 that they are moving for
a reduction under the USSG §5K1.1 provision and recommending a two (2) level
downward reduction resulting in a reduced guideline range. Per the plea agreement, the
Defense is specifically allowed to recommend sentencing outside the guideline range,
and intends to do so. We also believe the reduction should be more significant than the
two (2) levels stated in Assistant U.S. Attorney Resnick’s letter. Any downward
departure should reflect the nature and length of the case, the Defendant’s plea, and
the crucial role he played in getting his codefendants to plea. This saved the
government and the Court from a lengthy and expensive trial. Those pleas would likely
not have happened without the Defendant’s cooperation and the codefendants’
knowledge of it. Furthermore, the Defendant cooperated extensively in the forfeiture and
sale of his primary residence, producing over $500,000 towards restitution

10. Under 18 U.S.C. § 3553(a), federal sentencing courts must impose a
sentence that is sufficient, but not greater than necessary, to meet the purposes of
sentencing1 This includes the nature and circumstances of the offense and the history
and characteristics of the defendant, the need to avoid sentencing disparities between

defendants with comparable criminal records who have been convicted of similar

l The purposes of sentencing are identified as:
The need for the sentence imposed -
(A) to reflect the seriousness of the offense, to promote respect for the
|aw, and to provide just punishment for the offense;
(B) to afford adequate deterrence to criminal conduct;
(C) to protect the public from further crimes of the defendant; and
(D) to provide the defendant with the needed educational or
vocational training, medical care, or other correctional
treatment in the most effective manner.
18 U.S.C. § 3553(a)(2).

crimes, and the Guidelines themselves See Ur)ited States v. Dorvee, 616 F.3d 174, 183
(2d Cir. 2010).

11 . The "sufficient, but not greater than necessary" language of § 3553 is
commonly referred to as the "parsimony clause." See Ur)ited States \/. l/l/i//iams, 475 F.
3d 468, 476 (2d Cir. 2007), cert. denied, 552 U.S. 1105 (2008). When imposing
sentence, the district court must consider the factors mentioned in § 3553(a), including
the requirements of the parsimony clause. /d. Simply stated, if the district court
concludes that either of two sentences would properly serve the statutory
purposes of § 3553(a), application of the parsimony clause compels imposition of
the lesser sentence. See United States \/. Minisfro-Tapia, 470 F.3d 137,142 (2d Cir.
2006).

12. The sentencing court must also consider the advisory Sentencing
Guidelines. United States \/. Booker, 543 U.S. 220,245-246 (2005). However, "[e]ven
where a district court has properly calculated the Guidelines, it may not presume that a
Guidelines sentence is reasonable for any particular defendant, and accordingly, must
conduct its own independent review of the § 3553(a) sentencing factors." Un/'ted States
\/. Dorvee, 616 F.3d at 182 (citing Unifed States \/. Cavera, 550 F.3d 180,189 (2d Cir.
2008), cert. denied 129 S. Ct. 2735 (2009)).

13. The importance of individualized sentencing is a central theme in federal
criminal law:

lt has been uniform and constant in the

federal judicial tradition for the sentencing
judge to consider every convicted person as an
individual and every case as a unique study in

the human failings that sometimes mitigate,
and sometimes magnify, the crime and the

 

punishment to ensue.
Koon v. United States, 518 U.S. 81,113 (1996).
14. in Kimbrough \/. United States, the Supreme Court reminded the district
courts that:
The sentencing judge has greater
familiarity with the individual case and the
individual defendant before him than the
Commission or the appeals court. . .. He is
therefore in a superior position to find facts

and judge their import under § [3553(a)j in
each particular case.

Kimbrough v. United Sfates, 552 U.S. 85, 108 (2007) (internal
quotations omitted).

THE 5Linx SAGA

15. Although much of this information is contained in l\/lr. Jerabeck’s letter to
the Court, the information in this section of the l\/lemorandum is based upon the
Defense’s review of the discovery and independent investigation of the facts and
circumstances of this case.

16. in 2001, Craig Jerabeck (Jerabeck), Jeb Tyier (Tyler), and Jason Guck
(Guck) (collectively, the “Founders”) founded 5Linx Enterprise, lnc. (the “Company” or
“5Linx”), a multilevel marketing company headquartered in Rochester, New York. 5Linx
began as a telecommunications services company and grew to offer utility services,
health insurance, coffee, nutritional supplements, and business services, amongst other
products.

17. From 2001 through mid-2015, Jerabeck was President and CEO of 5Linx;

Guck was Vice President and Secretary; and Tyier was Vice President and Treasurer

(Exhibit C, Craig Jerabeck’s professional biography). At all times, 5Linx had
stockholders outside of the Founders

18. 5Linx used independent representatives to sell products and services, and
to recruit representatives The recruited representatives were part of the initial
representative’s “downline” organization All 5Linx representatives were independent
contractors, not employees 5Linx paid the representatives for their sales in addition to
the representatives 5Linx had more than 235 employees in l\/lonroe County at its peak;
these positions inside the Company included lT, customer service, billing, management,
marketing, etc.

19. On June 237 2006, 5Linx entered into a Stock Purchase Agreement with
Trillium Lakefront Partners and Shalam investment Co., L.L.C. (collectively, the
“lnvestors”). The investors paid $3,500,000 for stock and a minority ownership stake in
5Linx.

20. Gn July 6, 2007, 5Linx and the investors entered into a second Stock
Purchase Agreement. The investors paid $2,000,000 for additional stock and a slightly
larger ownership stake in 5Linx, The lnvestors’ ownership stake did not exceed 23%,
even after both investment rounds The three Founders at all times owned at least 70%
of the Company.

21. The case against 5Linx began when a disgruntled former representative
demanded ownership in the Company and was denied. The representative, Andre
Maronian, who was earning $55,000 per month while with 5Linx, wanted more. He’d
already lost several civil lawsuits against 5Linx, then fabricated events to key venture

capital investors The Shalam and Trillium Creditors (formerly the lnvestors) were in a

bid to take over the Company and dismissed i\/laronian. l\/laronian, unsatisfied with this
result, continued with attempts to publicly damage the Company. Doing this ensured
5Linx’s uphill battle in repaying the Note to the Creditors, 5Linx lost many of the
Company’s representatives and revenue plummeted. l\/laronian ultimately went to the
FBl and the U.S. Attorney’s Office.

22. in 2013, the investors were offered $16.5 million and 10% of the
Company’s stock as a buyout on their $5.5 million investment The investors rejected
the offer and attempted to squeeze an additional $6 million from the Company. The
investors were never entitled to $22 million, as alleged. But they refused to sell for any
less. There were clear success measurements and payouts laid out for the investors
which were based on performance targets Based on Company performance and the
lack of sale or lPO, the maximum return to the investors would have fallen between
8-15% simple interest on their investment

23. in January 2014, the investors pressed the Company for a buyout. The
investors had already received a $1 million dividend in a prior year and a cash payment
of $11.2 million at the time of the sale. As part of the deai, all remaining shares were
purchased from the investors and 5Linx signed promissory notes (the “Notes”) in which
the Company agreed to pay the investors an additional $10,000,000. The investors
became creditors (the “Creditors”). in short, the investors were actually paid over $13
million on their initial $5.5 million venture investment

24. To expand and diversify outside telecom, 5Linx had expanded into the
energy market when they acquired a deregulated electricity marketing company in

2013. Electricity customers were easily acquired and the future looked promising, that

is until January 2014. For the first time in over half a century, a weather phenomenon
known as a polar vortex hit the Northeastern United States and the electricity portion of
the business suffered an enormous financial loss: approximately $7,000,000 cash loss
in three months

25. A polar vortex is the circulation of strong, upper-level winds that normally
surround the North Pole in a counterclockwise direction - a polar low-pressure system.
These winds tend to keep the bitter cold arctic air locked in the Arctic regions of the
Northern Hemisphere. On occasion, the vortex can become distorted and dip much
farther south than usual, allowing frigid air to spill down. Unfortunately for 5Linx, this hit
the United States during the winter of 2013/2014; the impact of this event on the U.S.
economy has been estimated to have been $5 billion (see https://entwiklbedia.ord/wiki/
Earlv 2014 North American coid wavei. This extreme weather event sent costs
soaring for utility companies many of which couldn’t handle the crisis When challenges
hit the market, energy companies cannot pass all of their unexpected increases in utility
supply prices on to consumers and many companies started to go under.

26. At a time when many deregulated energy companies went out of
business Jerabeck managed to sell the energy portion of 5Linx to one of the suppliers
for a loss at $1,000,000, and saved 5Linx from bankruptcy. lt was the perfect storm,
further burdening the Company’s financial struggles as this occurred after the Company
had been locked into the lnvestors’ buyout.

27. ln 2015, the Founders’ independent representative positions were
significantly reduced or eliminated from paying out commission as the Company was in

a serious cash crisis promoting the renegotiated Note with the Creditors. The structured

monthly Note payments of $250,000 were nearly unmanageable for the Company.
Financial troubles continued, as recovering from the enormous loss was not easy.
Subsequently, Bank of America called in the Company’s $6 million line of credit due to
the losses sustained in the Company’s energy business forcing the Company to sell off
its telecom business all while landline telephones were disappearing and cash was not
coming in. 5Linx sold Globaiinx in a fire sale for a mere $7 million, which allowed them
to cover the $6 million line of credit.

28. 5Linx actually paid the investors over $13 million on a $5.5 million
investment, a 218% return. Of the numerous investments Trillium made in companies
5Linx was by far one of the top returns of all their investments even considering they
did not get paid the $6 million remaining on the Note.

29. Like the venture capital investors New York State took a risk with 5Linx
and invested in the Company through their employee pension fund. According to New
York State Comptroller Dinopoli, 5Linx paid New York State $6.7 million on an
approximate $1.5 million investment from the New York State employee pension fund, a
600% return on investment (Exhibit F).

30. lt is worth noting that both Shalam and Trillium are venture capitalists.
They chose to make the investment in 5Linx, which in and of itself was inherently risky.
Venture funding is one of the riskiest investments to make, as it is unsecured and
unregulated Unlike other venture endeavors the investment in 5Linx paid out
exponentialiy, both for the State and Trillium and Shalam. According to an article in the
Wall Street Journai, nationally, over 75% of all venture capital investments fail without

return and produce a total loss of capital (https://www.wsi.com/articfes/

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SB’l0000872396390443720204578004980476429'l90). The |nvestors’ risk in 5Linx paid

off with a 218% profit, even without the additional payments they were owed.

HlSTORY AND CHARACTER|ST|CS OF THE DEFENDANT

 

31. l\/lr. Jerabeck is thankful for the overwhelming support of his family, friends
and colleagues throughout this process and greatly regrets the trouble he has caused
them due to his actions Attached to this statement are several character letters on
behalf of Mr. Jerabeck (Exhibit B), which describe an honest, hardworking, charitable
man who clearly is very dear to his family and all of those around him. They attest to
character, determination, perseverance, and remorse. Everyone who wrote a letter on
l\/ir. Jerabeck’s behalf was aware of the crime he committed and the charges to which
he has pled guilty. They have written these letters to describe him as a man who is more
than the person who stands before the Court. He is also a father, a friend, a colleague,
and an integral part of his community

32. Some important descriptions of l\/lr. Jerabeck bear repeating in noting his
background and character: a devoted, loving and supportive father (Exhibits B-1 Doyle,
B-6 Reeves, B-9 l\/iarchaesi); a talented entrepreneur (Exhibits B-1 Doyle, B-12
Steinbrenner); trusted mentor (Exhibit B-6 Reeves); man of integrity (Exhibit B-6
Reeves); a cheerleader (Exhibit B-11 Kayser); philanthropist (Exhibit B-12
Steinbrenner); extremely humble and generous (Exhibit B-10 Trovato).

33. Everyone consistently attests to l\/lr. Jerabeck’s devotion to his family,
service to his community, generosity as an employer, and overall integrity and work

ethic. The letters describe a man who is consistent in all of his endeavors

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34. Robin Hoffman shares how i\/lr. Jerabeck “took a chance” on her. When
her twins arrived three months premature, l\/lr. Jerabeck “was sympathetic to my
situation and was very understanding After l delivered, he told me to go take care of my
babies take as much time as l needed, and my job would be waiting for me when l was
ready to return. True to his word, four months later when l called him to tell him my
babies finally came home from the hospital he gladly welcomed me back.”

35. l\/|s. Hoffman goes on to describe how she witnessed l\/lr. Jerabeck’s
compassion and generosity as an employer during times of their personal hardship,
going as far as adding company-paid life insurance as a benefit for every employee in
response to the tragic loss of an employee (Exhibit B-2).

36. Kraig Kayser describes l\/lr. Jerabeck as “a person who has made a

difference in thousands of people’s lives by making their lives better...Craig Jerabeck
` has a long and demonstrated track record for making people happier and more
successfui. This is no easy job. He often did this at great personal sacrifice.” (Exhibit
B-11)

37. Jamie Trovato describes l\/lr. Jerabeck as someone who, “gives back in so
many ways. His charitable contributions are well documented.” He credits i\/lr. Jerabeck
for showing him “how a true professional acts.” (Exhibit B-10)

38. l\/lichael Weiner writes “l am truly glad l made that decision to work with
Craig...l have found Craig to be a great asset to me personally and professionaiiy... [he
is] genuinely one of my favorite clients/business partners l have the pleasure to work

with." (Exhibit B-3)

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39. Andrew Behe recounts l\/lr. Jerabeck’s sullen demeanor following the sale
of a division of 5Linx, not because he was upset with the terms of the transaction, but
because so many of his employees would be let go. He captures the essence of lVlr.
Jerabeck: “ln the 5 years l have known Craig, l have remained impressed by his
compassion and desire to create jobs and opportunities not only in Rochester, but
across this country. Craig has given tens of thousands of people not only a steady
income, but hope that they can create a better future for themselves and their families
and this is the man and spirit l continue to respect.” (Exhibit B-7)

40. While his mistakes are acknowledged in the letters they unanimously
speak of a loyal, compassionate man who takes care of those around him, gives of
himself, and perseveres time and again.

41. The most moving letters came from his children. All three manage to
capture the essence of an involved, supportive dad, who taught them the value of hard
work, giving back, and family, each through their own individualized experiences with
him. in the Jerabeck family, this was known as “special time” - time alone with dad and
daughter or son, engaging in an activity that was uniquely theirs

42. Elizabeth, l\/lr. Jerabeck’s oldest daughter, recants the time spent together
getting coffee. Then as she got older and joined crew, her dad, “would come to all of our
regattas and ride his bike along the entire route to watch.” (Exhibit B-13)

43. His son Craig, Jr. states “l enjoyed an upbringing with parents who were
always there, always available, and who love me unconditionaliy.” He describes how his
dad instilled the value of work in him. He didn’t have to do it, but he needed to teach me

the importance of hard work and spend time with his son. Surprisingly (or maybe not)

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some of my best memories are from the worst jobs with my dad.” This sentiment comes
through in every letter submitted on behalf of l\/lr. Jerabeck. Craig Jr. writes further and
sums his dad up best in seven simple words: “my dad is my hero and friend.” (Exhibit
B-5)

44. Katherine, Mr. Jerabeck’s youngest, describes her own favorite “special
time” with her dad - making grilled cheese after dance. “Every night after dance, the
rest of my family would be getting ready for bed, and Dad and l would eat grilled cheese
for a second dinner together. We would try out new breads; debate mayonnaise vs.
butter; dip it in different sauces; and pick our favorite sides (a pickie), all while talking
about our days. Some days they turned out amazing, some days we burnt them;
regardless Dad and l sat at the kitchen counter and ate together.” (Exhibit B-14)

45. Mr. Trovato wisely states “if you ever want to see what kind of parent
someone is look at their children. Craig has the nicest most respectful children l have
ever met. They are all extremely successful adults now." (Exhibit B-10)

46. You can also see the remorse for the effect his actions have had on his
family, and himself in terms of how his children describe the challenges their family has
endured throughout their dad’s case. Katherine writes “The past few years have been
difficult Our family is strong; we have always been a team. But this has been a
marathon for which none of us signed up. The most difficult aspect of this experience
has been the discrepancy between my knowledge of my father, and the current case.
l\/ly father once actually fell into the Erie Canal trying to retrieve a napkin that had fallen

in because he had always taught us not to litter. This case and the media surrounding

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my father is not the Craig Jerabeck that l have known for the past twenty-three years of
my life.” (Exhibit B-14)

47. in addition to supporting his family and friends lVir. Jerabeck has
supported numerous charitable organizations both professionally and personally.

48. Under l\/lr. Jerabeck’s leadership, 5Linx made several significant charitable
contributions both locally and nationally. These donations were in excess of $600,000.
At every national convention, l\/lr. Jerabeck made sure funds were raised and matched
by the Company in order to support a local charity. These include the Trayvon l\/lartin
Foundation, the Shine Family Foundation, Pediatric Cancer Foundation, Any Baby Can
of San Antonio, St. Frances Academy, Urban Youth lmpact, lnc., Young Entrepreneurs
Academy, and Rochester Ventures Foundation, amongst many others (Exhibit E).

49. On the personal side, l\/lr. Jerabeck freely gave of his time to many
organizations which include Strong Chiidren’s Hospital, the ARC of i\/lonroe County, the
National Center for l\/lissing and Exploited Chiidren, Catholic Charities, and the NY Says
Thank You Foundation, amongst others in her letter to the Court (Exhibit B-13), Mr.
Jerabeck’s oldest daughter, Elizabeth, recounts the impact volunteering alongside her
dad has had on her and how the experiences have influenced her own philanthropic
choices while his son recounts him [i\/lr. Jerabeck] volunteering to coach his little league
teams (Exhibit B-5).

50. in his own statement (Exhibit A), l\/ir. Jerabeck’s remorse is ciear, as is his
appreciation for the effect his crime has had on his family and his career. He writes of

the rise and fall of 5Linx, and the challenges both personal and professional, that came

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with it (Exhibit D). l\/lr. Jerabeck acknowledges his role in profiting from the relationship
he had with a vendor and expresses remorse for his participation in it.

51. l\/lr. Jerabeck takes full responsibility for his actions He, along with his
family and friends acknowledges the debt he must pay to society for his poor choices

and requests leniency on his behalf.

EF E’ RE E T F RA F RTHER D WNWARD RED CT| N
BASED UPON DEFENDANT’S COOP§RAT|ON §FFORTS UNQ_ER Ll§_SG §5K1.1

52. l\/lr. Jerabeck was the first of the codefendants to accept a plea offer and
was instrumental in the pleas of his codefendants Both codefendants were aware of
Craig Jerabeck’s cooperation and plead as a result of knowing that. i\/ir. Jerabeck
encouraged his former partners to work with the government and avoid weeks of trial,
and ultimately they both did so. Additionally, he was cooperative throughout the
forfeiture and sale of his primary residence. The sale of that property alone accounted

for nearly 22% of the total restitution.

ATi FYiN 1 . .C. 3 FACTOR

53. Every federal sentencing case involves the application § 3553, and this
Court has no doubt seen and recited the relevant sections of the statute hundreds of
times But it is worth emphasizing the fundamental command of the statute: the
sentence imposed must be sufficient, but not greater than necessary to comply with
the purposes set forth in the statute. 18 U.S.C. § 3553(a).

54. Federal courts in the Second Circuit and S.D.N.Y. have extensive
experience with financial crimes and have acknowledged that the loss amounts create

fraud guidelines that are too severe:

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“By making a Guidelines sentence turn on this single factor, the Sentencing

Commission ignored [§3553(a)] and...effectiveiy guaranteed that many such

sentences would be irrational on their face.” United States v. Gu,ofa, 904 F.

Supp. 2d 349, 351 (S.D.N.Y. 2012) (emphasis added).

“What drove the Government’s calculation in this case, more than any

other single factor, was the inordinate emphasis that the Sentencing

Guidelines place in fraud cases on the amount of actual or intended

financial loss.” United States \/. Adelson, 441 F. Supp. 2d 506, 509

(S.D.N.Y. 2006).

55. This helps to explain why defendants in fraud cases are sentenced well
below the Guideiines range, and almost never sentenced above the range, as illustrated
in the Sentencing Commission’s statistics

56. With respect to the sentencing factors and § 3553(a)(2), if the Court is to
consider those factors it is the Defense’s position that a period of probation for l\/lr.
Jerabeck would reflect the seriousness of the offense, would promote respect for the
law, and provide just punishment for the offense, given the lifelong stigma associated
with such a conviction and the losses he has already sustained professionally and
financially See United States v. Ont/'veros, supra.

57. The same factors as mentioned above would certainly apply to the
purpose of sentencing to “afford adequate deterrence to criminal conduct” is also
required to be considered by 18 U.S.C. § 3553, paragraph B.

58. With regard to paragraph C of § 3553 which states “to protect the public
from further crimes,” given the Defendant’s lack of criminal history the effects this has

had on himself and his family, the significant level of remorse attached to this conviction,

and his change in lifestyle, it appears that he is at an exceptionally low risk to re-offend.

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59. Additionally, l\/lr. Jerabeck has valid and substantial employment, with the
opportunity to grow his business His sustained employment permits him to make
regular payments towards restitution, something that would be diminished by

incarceration.

CONCLUS|ON

60. Based upon all the facts of this case, the "parsimony clause”, and the
unique circumstances as they relate to Mr. Jerabeck, it is respectfully requested that l\/lr.
Jerabeck be sentenced to probation. Such a sentence addresses the seriousness of the
offense and remains consistent with recent sentencing in cases of a similar nature with
defendants of the same criminal history category

61. To date, over $1 million has been paid towards the approximately $2.3
million of restitution. These funds were made available through cash seized in bank
accounts and the sales of the Founders’ properties with over $500,000 coming from the
sale of the Defendant’s property

62. Based on all the factors of this case, and in consideration of the §3553(a)
factors specifically the nature and circumstances of the offense and the history and
characteristics of the defendant, his remorsefulness his meaningful cooperation in this
case, his current employment, his desire to continue making restitution, and his
continued community involvement, it is respectfully requested that the Court sentence
l\/lr. Jerabeck to a term of probation, a sentence that is sufficient but not greater than

necessary

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Dated :

TO:

October 15, 2018
Rochester, NY

Richard Resnick, Esq.
Assistant United Stafes Attorney

Kerry J. Chartier,
U.S. Probation De,ot.

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Respectfully submitted,

LSLJ_M§_/\m/es_

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EXH|B|T A

October 9, 2018

Honorable Judge Larimer:

l was raised on Long island in a typical middle class neighborhood, West Hempstead.
My step father was a Heating and Air Conditioning installer and repairman. My mom
stayed at home to raise my brother, myself, and my stepsister. We lived next door to
our cousins and had many friends and family My grandparents were immigrants from
Austria and came to the States in the 1920’5 as teenagers. They were a significant
part of my childhood. We did the typical things kids did back then, went to church,
played baseball and stickball, and rode our bikes everywhere. Wednesday and Sunday
were pasta nights. it was a fun and simple life.

in 1974, the family decided to move out of the “rat race” of Long lsland, to Montour
Falls, N.Y., a small town in the Fingers Lakes. This was a difficult move for a 13 year
old in eighth grade. lt was not an easy time to make new friends, especially when you
were a kid from Long island. l spent my time working when l wasn’t in school. My first
year there l played JV baseball and worked for a hardware store cleaning and stocking
shelves.

l have always been a worker (it was ingrained in me by my grandparents) and soon
after found a job at a local grocery and worked there for four years. l ultimately
became the store manager at 17 years old. l continued my lawn business, l purchased
my first car at sixteen, and saved for college. le step dad was a wonderful man and a
great father, but his business never took off so money was always tight. lt was clear
that l would need to pay for my own schooling.

After high school l attended UB. l had a passion for business and entrepreneurship. l
enrolled in the business school, earned my Bachelor of Science in Finance, then my
MBA with a concentration in Marketing. l continued to work through college: UB work
study programs, fund-raising for the University, the county highway department,
selling door to door, property maintenance, and more. in our family, it was always
important to be working.

l also did two unpaid internships while at school, one for Fisher Price, the next for
AT&T as a telecommunications sales representative. l had found my passion. l loved to
sell and l loved technology

After graduation, l was hired by AT&T and had a very successful eight years there. l
was moved several times, and was fortunate to be moved to Rochester where l settled
and raised my family After AT&T, l was hired by Cellular One as a General Manager
for Rochester, N.Y. l worked for a terrific company called Associated Communications,
who owned the Cellular One Companies in Rochester, Buffalo, and Albany.

Associated sold out in 1994 to another company and it was time to move on and start
my own venture. in 1994, l started a chain of wireless retail stores called Cellular
Unlimited. l built 23 stores in three years from Buffalo to Boston. l sold the chain to a
national retailer in 1997 for $2.6 million. l built many of those stores myself, working
throughout the night in the shopping malls.

After Cellular Unlimited, l founded another company called @Wireless. This was also a
wireless concept. l chose to franchise the stores and opened 78 locations between
1998 and 2004.

ln 2005, l became the full time President and CEO of 5Linx. When l took over the
company it had revenue of $3 million and $1 million in losses. Within 12 months, l was
able to move the company to $5 million in sales, and profitability From there, the
company grew to $12 million, $24 million, $48 million. in the following years, 5Linx
grew to its highest sales and profitability in 2013, with $135 million in sales, $6
million in gross profit, and 235 employees in Rochester, N.Y., as well as thousands of
independent representatives

5Linx’s primary product was telecom services, in 2005, we decided to build our own
Voice over lP (VO|P) network, which was an internet based telephone service much
like the services sold by the cable companies and Vonage. in order to build the
network we needed outside funding, which is why we took on the Shalam and Trillium
investors in 2005, we took $3.5 million and gave up approximately 15% ownership of
5Linx. in 2006, we took additional investment from the same parties and gave up
approximately an additional 8% of 5Linx, for an approximate total ownership by the
investors of 23%.

The terms of the investment were essentially as follows: if the Company performed at
or below forecast, the investors would get an 8% annual yield on their money if the
Company performed well (above forecast) the investors would receive a 15% annual
yield on their investment. if the Company Went public or was sold for four times or
more than the share price at the time of the initial investment, then the investors
would receive a 400% return, or roughly 522 million.

in 2013, relations between the investors and the founders were getting difficult.
There was more and more pressure to buy out the investors, but this pressure was
applied by the investors limiting the founders’ ability to operate. lt was time to
negotiate a buy-out. in July of 2013, with the assistance of a telecom-specialized
investment banking firm, we presented options to Trillium and Shalam. The option we
presented was $16.5 million in cash and retention of 10% of the common shares of the
Company This would have provided the 15% annual yield we had promised in
2005/2006. Plus, they would still own 10% of the Company This offer was rejected by
the investors, who wanted more. They wanted the $22 million they would have
received at an lPO price of four times the price at the time of their investment. The
decline in landline telephone lines made it clear we would not be selling for four
times our initial stock price, or even likely offering an lPO.

We ultimately agreed to buy out the investors but we did not have $22 million in
cash. So, it was decided that we would pay $10.2 million in cash, plus the $1 million
dividend already paid, for a total of $11.2 million. The investors’ shares would then
convert to a promissory note with monthly payments of approximately $250k per
month. All totaled, the investors received over $13 million on their $5.5 million
investment. l would like to point out that prior to my resignation from the Company,
in August of 2015, the investors and all creditors were always paid,

in 2013, the Company acquired a deregulated electricity marketing company to
diversify our business away from telecom. We had great success adding electricity
customers to our business and the future looked promising. We also planned to launch
nutritional products such as protein shakes, healthful coffee, and several other
product lines The launch was planned for the first quarter of 2014. The initial cash
need was $3 million in new inventory

ln January of 2014, the Company came upon difficult financial times We went into
2014 with a significant amount of cash in the bank, over 512 million. Unfortunately, in
January of 2014, there was something called a polar vortex in the northeastern United
States. Our electricity business suffered $7 million in cash losses in a span of three
months At that time, many deregulated electricity companies went out of business l
was successful in selling our business to one of our suppliers in April for $1 million,
which in turn allowed us to retain $3 million in receivables and saved 5Linx from
bankruptcy We still lost $3 million and our electric subsidiary, but the Company could
go on.

We also had to spend $3 million on new inventory during the same timeframe that we
lost the $7 million due to the polar vortex. The Company’s cash had dwindled to less
than $1 million. At this point, our lender, Bank of America, called in our six million
dollar line of credit based on our first quarter of 2014 financials. We were now forced
to sell our telecom business lt took a number of months to sell the business and we
were bleeding cash due to the rapid decline in the landline telephone business

Thankfully, l was successful in selling the telecom business for $7 million in late
summer/early fall of 2014. This allowed 5Linx to pay off Bank of America and clean up
our balance sheet. However, we were still in a very difficult cash position, and had
difficulty making the note payments to the investors in fact, we were losing money
each month. This difficult cash position is what drove the renegotiation of the
promissory notes with the investors

in 2014, the founders dramatically lowered their compensation due to the difficult
financial times of the Company This does not excuse our profiting from the
relationship with our supplier, Ocenture. We should not have taken personal
compensation from a vendor, it was wrong. This money should have been paid to our
independent representatives and the balance to the Company l do not believe this

would have changed the fortunes of the Company (the losses the Company had in
2014/2015 were too great to overcome), but it was still wrong.

in August of 2015, l formally resigned my position as President and CEO of 5Linx after
learning of fraudulent actions of my former partners in particular, my partners
orchestrated a very personal smear campaign against me by making payments to
independent representatives who publicly accused me and the Company’s HR Director
of making improper sexual advances toward one of the Company’s independent
representatives During the course of a mediation proceeding with a magistrate judge
in the Southern District of New York, my former partner, Jeb Tyler, admitted in front
of counsel (Paul Keneally of Underberg and Kessler and Jeff Calabrese from Harter
Secrest and Emery) that the “whole scheme was cooked up” to get me to leave the
Company

During the course of the summer of 2015 my former partners were also providing false
financial documents to prospective investors They were using my social security
number and personal information, without my consent or knowledge, to attempt to
secure loans to the Company This information was verified and provided to counsel
during my defense in a lawsuit brought by my former partners After the facts were
revealed the suit was dismissed with prejudice in my favor by NYS Supreme Court
Justice Matthew Rosenbaum.

These two events, the attempt to defame me, and the fabrication of false financial
statements were the actions that ultimately led me to resign from the Company Prior
to my resignation the company was paying its bills and the investors

During the course of 2015 l was able to secure a new investor for 5Linx which would
have allowed us to not only keep paying our investors but to also secure new bank
financing. This entity called Montbriar was willing to buy 5% of the Company for $1
million. l brought this offer to our investors (Trillium and Shalam), at a board meeting
in August of 2015, who agreed that the offer was fair and we should accept it. My
former partners Tyier and Guck, refused the offer and instead attempted to secure
loans fraudulently using my personal credit information.

On a personal note, l would like to tell you about my family and a bit about my
personal life. l was married to a woman, Mary, that l met in college. We were married
in 1986 and together raised three children of whom l am extremely proud. Mary was a
stay-at-home mom who helped raise Elizabeth (28), Craig (26), and Katherine (23). All
three children were active in sports church, and community activities which kept us
very busy l coached soccer and baseball for all three children and attended every
sacrament. l am proud to say that after putting them all through college, they are
honest, hard working members of their communities We have had many opportunities
to travel and work together forging very strong bonds between dad and kids.

All three of the kids worked hard in high school and college. in addition to other part-
time jobs, the kids all worked at 5Linx in entry level positions in the warehouse and

customer service. They proved themselves to be humble, hardworking, and respectful
employees never taking advantage of their dad’s position as the CEO.

in addition to raising three tremendous children, which is my proudest achievement, l
have done my best to be a contributor in my community My wife and l were very
involved in our church (Transfiguration in Pittsford). We were part of a fundraising
team that raised $3 million for the construction of the church, where all three
children received all of their sacraments.

l have always strived to be charitable with my time and finances particularly when it
comes to children and veterans affairs l contributed $25,000 to Strong Chiidrens
Hospital to purchase new incubators. We had a niece who was born at 24 weeks so
this is near to our hearts During my time as CEO, 5Linx also made donations to the
Trayvon Martin Foundation, the Pediatric Cancer Foundation, Urban Youth lmpact,
lnc., Young Entrepreneurs Academy, and Rochester Ventures Foundation, in addition to
numerous local charities across the country

i took on board positions with the ARC of Monroe County, National Center for Missing
and Exploited Children, Catholic Charities and the NY Says Thank You Foundation
which supported survivors and first responders from 9/11, and other natural disasters
in our country My daughter Elizabeth and l traveled with 9/ 11 survivors and first
responders to Grosbeck, Texas to rebuild a veterans home that was destroyed by a
tornado. This trip created a memory and special bond for Elizabeth and me that is
irreplaceable.

Judge Larimer, l know l made a mistake in judgment. l chose to enrich myself and l
misstated my taxes l fully admit to getting caught up in a scenario that was
detrimental to others and l should have had the sense and the proper moral compass
to say no.

l have done my best to make restitution, both renting and later selling my personal
home (my primary residence), which generated over $500,000.00 for restitution, l
had hoped that would be my retirement savings My income has been significantly
affected by my arrest. l was forced to leave a company l founded in 2016 due to the
publicity surrounding the constant press releases and news articles

l am living a very quiet and simple life in Canandaigua, currently doing several things
to support myself, i am working as a general contractor rehabbing houses and doing
property management. i work with my significant other at her restaurant doing all
sorts of activities from marketing to plumbing, bartending to bookkeeping This is a
new endeavor for her and my business and construction experiences are very useful in
starting a new business Since she owns the building and l have built an apartment
upstairs we can live very modestly. l am also hoping to begin a new position
(commission only) selling atmospheric water purification systems for a friend’s
company l work six days a week, generally 8-5 doing construction and property
management, then l work in the restaurant until closing. l am doing my best to

rebuild my life and reputation. l have essentially had my life on hold for three years
since my departure from 5Linx due to all of the legal challenges which l recognize
are my own fault.

l am asking you for leniency in my sentencing, so that l can continue working to
rebuild my life both professionally and personally and to make restitution, Thank you
for taking the time to read this lengthy letter.

Respectfully,

Craig Jerabeck

EXH|B|T B

 

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September 14, 2018

Dear Judge Larimer,

I am a local business owner and have served our community for over 35 years I have known
Craig Jerabeck for over 25 of those years l respectfully ask that the minimum sentence be
imposed in Craig’s case. l sincerely believe he deserves a second chance so that he will continue
to have a positive effect on both his family and the community

I know Craig to be a devoted, loving and supportive father to his three children. l have seen first
hand the strong support he provides for them and the wonderful young adults they have become. I
am also aware of his substantial financial and volunteer contributions to many community
organizations including Wounded Warrior Project, Strong Children’s Hospital, providing a fresh
water well to a community in Nigeria, coaching youth sports Arc of Monroe County and many,
many others others

When I first met Craig l was in charge of finding new members for the Empire State Chapter of
the Young President’s Organization (YPO). YPO is an organization built on members providing
support to one another and we knew Craig was a talented entrepreneur and would be a
tremendous addition to our chapter His support of Empire State YPO and his commitment to
supporting and developing young professionals is another great example of his service to the
community

l also had the privilege of introducing Craig at a dinner held by the University of Buff`alo Alumni
Association in 2015 where he was presented a well deserved Lifetime Achievement Award
recognizing him for, in UB’s words “significant, sustained accomplishments that are truly
extraordinary, widely recognized as such and of positive and lasting quality.” Knowing Craig as
well as I do I can say that Craig embodies the definition of this award and l was honored to
introduce him.

Craig has done a lot for our community and I believe this experience will inspire him to do even
more in the future Thank you for your consideration

Sincerely,

Doyle Security Systerns, Inc.

424 @Q;Mx .

John G. Doyle, Jr.
President and CEO

BUFFALO - ERIE ~ ROCHESTER - SYRACUSE - ALBANY
792 Calkins Road ~ Rochester, NY 14623
Licensed by N.Y. State Department of State Lic. #12000084040
www.GoDoyle.com

 

Robin Hoffman
112 Westcombe Park ,.
West l-ienrietta, NY 14586 ¢ ).

September 18, 2018

Hon David G Larimer
United States District Judge
100 State Street

Rochester, NY 14614

Dear Judge Larimer:

| am writing on behalf of Craig Jerabeck.

l began working for lVlr. Jerabeck in December of 1997 when he owned Cellular Unlimited. i was contracted
through a temporary agency and was hired on full time within 3 monthsl l was young, newly married and | did not
have a college degree, but he took a chance on me, and l was extremely thankful to have a decent paying job with
good benefits

Not long after being hired, he sold Cellular Uniimitecl but thankfully kept me on as an employee because he
simultaneously started a company called @Wireless Enterprises, lnc. Within that year l became pregnant with
twins. Long story short, l had a difficult pregnancy and ultimately delivered my babies 3 months premature Even
though l had not worked for l\/lr. Jera beck for very long, he was sympathetic to my situation and was very
understanding After l delivered, he told me to go take care of my babies take as much time as l needed, and my
job would be waiting for me when i was ready to return. True to his word, four months later when l called him to
tell him my babies finally came home from the hospital he gladly welcomed me back. i spent the next several years
advancing through the ranks ultimately becoming his Human Resources Manager at SLINX Enterprises, lnc. l am
confident that l would not have been able to achieve this without a college degree at many other companies Mr.
Jerabeck saw that l worked hard and was willing to learn and that was enough for him. l believe that it was his faith
in me that compelled me to succeed.

As a longtime empioyee, l was able to witness l\/ir. Jerabeck’s compassion and generosity toward other employees
as weli. We had an employee whose autistic son was hit by a car while riding his bicycle. l-ie knew her financial
situation was not great and continued to pay her full salary for several months so she could tend to her son's life
threating situation. One day one of our employees was killed in a motorcycle accident on his way home from work.
He left behind a wife and a very young son. l\/ir. Jerabeck paid for his funeral to help alleviate the hardship on his
widow. lt was not long after that that he added company paid life insurance as a benefit for every employee to
help in future situations like that. These are just a few examples of his kindness i could go on with many other
examples

it has been several years since l worked for l\/lr. Jerabeck, and l have landed at a new company as their Human
Resources Manager. l will forever be grateful to i\/lr. Jerabeck for taking a chance on me way back then and for
allowing me to not only advance my career in Human Resources but also provide a good life through his generous
support of work/life balance for my now 19-year-old children. l know there are several other former employees
with stories like mine.

Sincere|y,

 

Robin Hoffman

 

 

 

 

 

 

 

 

Michael Weiner tel 33 |Q
Process it Forward-Founder/Owner

16 Oak Hill Terrace

Pentield, New York 14526

Hon. David G, Larimer-United States District Judge- Western District ofNew York

100 State Street
Rochester, Nevv York 14614

Dear Hon, David G. Larimer:

This letter is on behalf of my friend and business associate Craig Jerabeck. We have known each
other and Worked together for about 5 years now. We met when Craig was in the early stages of
building one of his businesses coincidentally it was soon after 1 started my credit card
processing company Prccess it forward (based in my home town of Fairport). Craig was drawn
to my organization because of our “Pay it Forwar ” philosophy that contributes a portion of our
net profit to local charities

1 was apprehensive at first of getting involved with Mr. Jerabeck, at the time We met there Was a
lot of negative information in the press about Mr. Jerabeck and issues With previous business he
was involved in. However, 1 happen to have a couple of friends/ business associates Who knew
Mr. Jerabeck and had Worked with him in the past and had nothing but good things to say about
his professionalism and integrity in their interactions with him.

Since honesty and integrity are an extremely crucial aspect of running a successful business in
the credit card processing industry_, 1 wanted‘to make sure that any partnership l created was with

l businesses and people that have the same moral compass as myself and our organization

1 am truly glad 1 made that decision to work With Craig, In the 5 years since We have met 1 have
found Craig to be a great asset to me personally and professionally The assistance/coaching 1
received from Crai g Was/is invaluable in the growth and success of my business 1 have found
Craig to be honest, hardworking and genuinely one of my favorite clients/business partners 1
have the pleasure to Work with.

I also believe Mr. Jerabeck, through his numerous professional contacts and previous
philanthropic endeavors could be instrumental in the future growth /expansion of my
organization and our positive impact on our community

lf you would like additional information about Craig Jerabeck you can telephone me at 585~309-
2234 or my entail michael@processitforward.com.

Sincerely,
Michael Weiner

P/\.__;.S-\</§ \/\_3-3;'\

Jeff Parness
275 West 96 Street, Apt. 9F
New York, NY 10025
Cell: 1-917-806'8061
iefi@NewYorl<SaysThankYou.org

I\/lay 16, 2018
Re: Craig Jerabeck personal reference
To whom it may concerns

Your Honor, l am writing this letter as a personal reference for Craiglerabeck and | appreciate your
consideration of my reference as part of your sentencing decision making process.

l was introduced to Craig through a personal family friend in the early 2000$ and, for a short time, l
served as a corporate finance advisor to Craig and his team in the writing of the initial 5Linx business
plan for their initial venture capital funding.

Craig also served for two years as a member of the Board of Directors of New York Says Thank You
Foundation, a charitable disaster relief non-profit organization l founded 15 years ago and where l serve
as Executive Director.

ln both his professional capacity and his service to our Foundation, l came to know Craig at a personal
level as we|l.

ln September 2007, Craig brought his teenage daughter and a number of colleagues from 5Linx to a
small town in east central Texas where our Foundation was helping to rebuild the tornado~destroyed
horne of the Vincent family, a family that cared for disabled veterans out of their homes for three
generations and who also serve as the leadership of the town’s volunteer fire department ln 100
degree+ swe|tering heatl Craig swung a hammer all weekend long alongside his daughter without
pretense or privilege, demonstrating through his humble service and hard work what it means to give
back and serve others.

Through his leadership at 5Linx, Craig also found ways to empower their vast membership to be part of
the process of giving back to the community. Whether through grassroots sponsorship of our 9/11
Anniversary rebuilding projects which empowered New York City firefighters to help rebuild other
communities as part of their healing process, or our historic restoration of The National 9/11 Flag, |
personally watched Craig with humility and commitment explain to thousands of members of 5Linx why
it is incumbent upon us all to do what we can to help those in need. He did so without seeking publicity
or recognition for himself or the company. And l believe he did so with a genuine servant’s heart. ln
Yiddish we refer to this as a true l\/lensch.

l cannot speak to the crimes which Craig is accused of nor the decisions he may have made by design or
default which brought him to this unfortunate predicament.

l know that Craig is a survivor who has been able to re»invent himself after downfa|ls in his journey
through the business world, often l believe, due to his inherent optimism which draws him close to
others. What l do believe in my heart is that Craig is the type of individual who has a genuine wellspring

of compassion and commitment to community deep within his character, which if given the opportunity,
will enable him to continue to contribute to society for the service of the greater good.

With my sincere appreciation for your consideration of my reference,

leff Parness

/s/ §e§§ But/tama

(sent via emai|/PDF from lsrael)

Hon David G Larimer Craig Jerabeck Jr.
100 State Street 70 Park Ave, Apt. 1
Rochester, NY Hoboken, Nl

Dear Judge Larimer,

l\/ly name is Craig Jerabeck Jr, and | am writing to you on behalf of my father. To give you a brief bio, l
grew up in Pittsford and attended Sutherland high school. |then attended Babson College. Upon
graduating l began working for Oracle Corporation and still do. l now live in Hoboken, NJ with my high
school sweetheart Helen. l enjoyed an upbringing with parents who were always there, always available,
and who love me unconditionally. | am truly lucky.

While l doubt l will ever fully understand what has happened over the last few years regarding this case,
I do understand my dad. Growing up was full of both work and play. Between my dad coaching little
league, watching me play hockey, teaching me how to parallel park, and visiting me at college when l
needed a good meal, he was and is everything you could ask for in a father,

l can't forget to mention the work- because if there is one thing he instilled in me, it is that hard work
trumps all. |\/ly dad is like an ant- he can't stop working. l don't mean in the corporate sense. We always
had a beautiful outdoor area because my dad and | would be outside taking care of it. Each year, besides
spring cleanup, fall cleanup, painting, shoveling, etc. we would edge and spread 29 yards of mulch by
hand. |f you garden, you know how much that is. Our neighbors thought we were nuts. Would it have
been easier to hire out? Sure. But then l never would have learned that you have to get your hands dirty
and learn the value ofa hard day’s work. As | get older, l realize the purpose of those long, dirty jobs and
appreciate it more. He didn't have to do it, but he needed to teach me the importance of hard work and
spend time with his son. Surprisingly (or maybe not) some of my best memories are from the worst jobs
with my dad.

A few years ago when this saga began, our world collapsed Our name was (and still is) in the paper and
news constantly. l\/ly parents separated, then divorced. l\/ly mom, dad, and sisters have now endured
years of states and whispers, lost friends, and irreparably damaged reputations. We have lost our
childhood home. A good, strong family has been decimated. |\/|y dad has done his best to shield us from
this as a father should, but he can only do so much.

Despite all of this, we are okay. All three kids are well educated, gainfully employed, and forging our
own paths. The forward progress has perhaps been stunted, and our hope is that the end is near to truly
move forward and on. l attribute our ability to succeed through this to our parents and upbringing ln
the future, | hope that we can look back on this as a speedbump and lesson in life and rebuild our family,

l struggle to reconcile my experiences and relationship with my dad versus the legal case against him.
l\/ly dad is my hero and friend. | know he is a good man who raised 3 amazing kids and truly cares about
others and his community.

| was told that you would read this letter and all the others that have been submitted | deeply
appreciate that you are willing to |isten. l\/ly hope is that you take into consideration these words so that
my father and my family can move forward.

Sincerely,

Craig Jerabeck Jr.

W

Honorable David G. Larimer
United States District Judge
100 State Street

Rochester, NY 14614

Dear Judge Larimer:

I am writing on behalf of Craig Jerabeck as a testament to his good character. Since May of
2016, l have worked side by side with him with in two of his most recent businesses. I was the
first person that believed in his vision for his new company and did not hesitate to come work
with him. Thanks to him, l have been able to develop a lucrative network marketing business
here in Las Vegas, NV where l have lived some 23 years. Craig Jerabeck is a trusted mentor and
friend; his great leadership has afforded me wonderful opportunities l would have never gained
otherwise

I have personally witnessed Craig work with impeccable integrity. He has always shown honest
and fair conduct in our business dealings For example . . .a gentleman he asked to join his
company as Vice President of Sales was not someone I felt was a man of integrity Craig had no
idea that this person had proven himself to not be a person who had the same vision as he. He
gave him a fair chance, but once he saw that the person was not someone he wanted in his
business he did terminate him.

In making my decision to follow Craig’s leadership, l was very impressed with the many
children’s charities Jerabeck supported through his first company. This also impressed my
husband, a pastor and minister, and demonstrated for him, Jerabeck’s noble and upstanding
moral character. lt was clear that we had a common passion for community involvement and
service. I came onboard with Craig’s organization to support his vision to raise funds for
nonprofits and religious organizations Once we started constructing a blueprint for a nonprofit
division together, he soon asked me to be the corporate director

Craig’s heart for family and children is a defining trait. He speaks frequently and affectionately
about his kids. Whenever they are coming to visit him, he vocalizes a passionate excitement that
only a devoted father could express l know that he and his daughter have served the state of
Texas as volunteers and that he has sat on various boards It is clear his commitment to raising
money for children’s charities is an extension of his own love and dedication to his family.

l ask you to have mercy on him in your decision, your Honor!

Sincerely,

Mrs. Cornelia M Reeves

October 4, 2018

Hon David G. Larimer
United States District Judge
100 State Street

Rochester, NY14614

Dear Judge Larimer:

l am writing on behalf of Craig Jerabeck. | first met Craig in February 2013 when l
was hired as the Corporate Controller at 5L|NX Enterprises. ln our time working
together, l quickly grew to respect Craig as a businessman, leader and philanthropist.

Craig showed genuine concern about the well-being and happiness of the employees
of his Company, whether it be granting an extended leave to an employee whose son
suffered a serious brain injury without a second thought or supporting an employee’s
decision to leave his position with the Company to pursue his dream of becoming a
musician. The moment that resonates with me the most was during a very tough
time in the Company when the decision was made to sell a division of the Company.
After completing a lengthy sales and due-diligence process, the banking group who
assisted in facilitating the deal came to Rochester to take the team most involved in
the diligence process to dinner to celebrate the closing. While sitting at a table of
employees and bankers all celebrating in a victorious mood, the memory l recall most
is looking across the table and being in shock at the distant and forlorn look on Craig’s
face, while the others appeared so jubilant. |n the coming days, l felt the urge to
stop by Craig’s office to ask about this moment, although feeling a bit hesitant to ask
an executive about his personal feelings. l stopped by his office asking if he had a
moment to chat and he warmly invited me in, at which point l asked him if
“everything was ok”, specifically citing that moment. As the CEO of large Company,
his answer would have been surprising, but having grown to know Craig, l was more in
awe than shocked. Craig stated as to how upset he was about the transaction, not
because of the terms of the deal, but rather that so many of his employees would
need to be let go. This is the kind of leader Craig is. While everyone at that table
was eating, drinking and laughing, Craig was worried about the well-being and future
of each and every employee who was affected by this transaction.

ln addition to this compassion displayed for his employees, Craig showed equal
concern and generosity for the community. At every large gathering of Company
representatives Craig and his partners would select 1 charity from the community to
be recipient of a donation. At the event, representatives of the company would
donate funds, and 5L|NX would match this donation. From a business standpoint, as
finances grew tighter, it was suggested that we Company stop this charitable
donation. The case was made that putting a hold on this giving would not affect
business or representative enrollment, an argument that was most likely true. While
it was widely accepted that this would save the Company a significant amount during

any given year, Craig would not put a stop to this donation, realizing how much these
donations were impacting the charities on the receiving end.

ln the 5 years l have known Craig, l have remained impressed by his compassion and
desire to create jobs and opportunities not only in Rochester, but across this country.
Craig has given tens of thousands of people not only a steady income, but hope that
they can create a better future for themselves and their families, and this is the man
and spirit l continue to respect.

Sincerely,

Andrew Behe
479 Aria Lane
Webster, NY14580
585-764-8981

October 5, 2018

Hon David G. Larimer Vinson Montgomery
United States District Judge 2904 Yarmouth Ln
100 State Street Mount Laurel, NJ 08054

Rochester, NY 14614

Dear Judge Larimer:

l am writing on behalf of Craig Jerabeck. l have known Craig Jerabeck over 9.5 years.
l want to give you a little background about me. l have worked as a high- level
Criminal lnvestigator and top performing Polygraph Examiner for 33 years. l have
been trained by the top professionals in the ClA, FBI, DEA and other Law Enforcement
Agencies. l was a top Supervisor and leading Polygraph examiner managing a polyraph
unit which covered the entire State of New Jersey and dealing with every type of
indictable offense on all levels (including organized crime). l am now retired. Your
Honor l share this because l have the training and experience to really “know and
learn” things about people.

l have had the opportunity to work with Craig Jerabeck and become friends with him
as we worked on several business projects together and traveled domestically and
internationally. l can honestly say that l never met a finer person who is honest and
has the intersest of all of those around him as his number one priority. l have
witnessed him help thousands of people improve their lives. Over the years | have
witnessed him give to various organizations and charities. l was actively and
personally engaged with Craig Jerabeck with three companies dating back to 2009.
The three companies were 5Linx, Paycations, and AGS. During each business project
lead by Craig Jerabeck l have personally witnessed him pouring into the lives many
individuals from every racial and ethinic background imaginable. l have personally
witnessed him and the companies he led, donate to multiple nobal organiztions, such
as:

O Digging a fresh water well for a community in Nigeria with no potable
water.

O Over $25,000 in donations to Strong Children’s Hospital in Rochester NY.

O Wounded Warrior project, whereby we raised $30,000 for the building of
veteran rehabilitation home in Montana.

O NY Says Thank You Foundation, of which l was a Board Member and our
Company raised over $50,000 to restore the Flag that now hangs in the
National 9/11 Museum in NYC.

lt has been a tremendous blessing for my wife and l to work in three successful
businesses led by Craig Jarabeck. He has employed thousands of people and helped
tens of thousands start small businesses across the country and around the globe. l
have been most impressed with how he operated with integrity.

Sincerely,

\/inQon Montgomery

Vinson Montgomery

September 16, 2018

Hon David G. Larimer
United States District Judge
100 State Street

Rochester, NY 14614

Dear.|udge Larimer:

l am writing on behalf of Craig Jerabeck who l have known for about 30 years. | have worked
both with him, at Genesee Telephone Company in the late 80’5, the first independent cellular
company in Rochester as well as for him, as CFO, in a cellular agent company he started called
Cellular Unlimited in the 90'5. We both branched off from there and l started my own CPA
business and eventually met back up with Craig in 2010 and preceded to do some tax work for a
couple ofhis business ventures. l've been around Craig and his family when his kids were
young where Craig was involved heavily in their lives juggling business trips and coaching youth
sports (baseball, softbali, and soccer) for all 3 children as well as making sure each ofthem was
also involved in community events. Craig wanted them to be well rounded as they grew up and
he did a great job parenting three wonderful children who now have grown into successful
adults. lt was easy to see he was a loving and caring father.

When l worked with him l didn't come to know Craig as well as l did when l worked for him. l-lis
ventures such as Cellular Unlimited were small companies where everyone was hands on. He
employed initially tens of people and grew his businesses into employing hundreds. He was
very fair with his employees and didn't expect them to do anything he wouldn't do himself. He
was respected by his employees as a fair leader with exemplary character. ln addition, he had a
huge heart for charities, especially children's health organizations such as Golisano Children’s
Hospital and veteran’s organizations such as Wounded Warrior Project and provided significant
financial contributions both personally and through his businesses He also provided leadership
assistance as a board member to multiple local organizations He would help anyone
individually or through his businesses if he could. That's who he is.

Sincerely,

John J. l\/larchaesi

Hon David G. Larimer
United States District judge
100 State Street

Rochester, NY 14614

Dear Judge Larimer:

lam writing on behalf of Craig Jerabeck.

donation.
l have seen Craig give back in so many ways. His Charitable contributions are well documented
He was always there for his children no matter how busy he was professionally l witnessed this

there for his children. This gave me higher level of respect for him and it taught me as a young
father this is what and how a true professional acts. l never miss my children's events. Craig is
one of the reasons why.

l know his children very well especially his son Craig Jr. if you ever want to see what kind of
parent someone is look at their children. Craig has the nicest most respectful children l have
ever met. They are all extremely successful adults now.

Over the years some of the things that have always impressed me the most is how Craig

He always puts other people needs and interest first. Craig was always kind and gracious to all
the people that worked within his many companies

l would ask that you that you please consider these facts about Craig’s character when you
make your decision.

Sincerely,

 

 

 

 

 

September 14, 2018
Dear Judge Larimer:

I am writing on behalf of Crai g Jerabeck as a character reference in this pending Sentencing hearing this
coming month. I have known Crai g as a friend for over 15 years as a close associate in an organization
called the Young Presidents Organization, which acts as a peer group for younger executives While
Crai g and l are no longer “Young” Presidents, we have shared many close and personal conversations
over many years as we served as confidential peer consultants to one another through the organization.
The Organization encourages such relationships to help executives navigate the challenges of running
significant business organizationsl

Through that experience, a friendship is bound to develop for people who share the challenges of running
a business on both their professional and personal lives. That certainly became the case with Craig, as we
spent hours and hours together including attending numerous retreats in off~site locations You get the
opportunity to get a real perspective on a person through this experience In Craig’s case, over the many
years together, l had an opportunity to get a very good view of him as a father, community leader, and
cheerleader to thousands of employees whose lives were improved by the fact that Crai g had the courage
to build a major business from scratch. He lived up to the task in an exemplary manner.

Building a business from scratch is no easy feat. lt is a 24/7 endeavor which took him all over the world
inspiring and leading thousands of employees of his direct marketing company 5Linx. As he did that, he
also juggled raising a family and playing an active role in the Rochester community. As part of the YPO
conversations, l heard how much he put into his children’s lives including building their character through
important father son or daughter activities One story I remember well was taking his teenage daughter to
Texas to rebuild a veteran’s horne destroyed by a tornado with a group of 9/ ll responders and survivors
He was focused on making not only a better life for his children, but also gave of himself to the
community through board leadership at Arc of Monroe Country and other community boards. Being a
CEO of a large company with children, I know just how challenging it is to juggle all of these
responsibilities with the pressure involved of trying to make sure that you cover all the bases. In my
personal experience, that is what Crai g did over and over through the decade and one half that l have
known him.

If l could leave you with a final thought, it is that Crai g is a person who has made a difference in
thousands of people’s lives by making their lives better. Whether it was business associates, family
members, friends or community members, Crai g Jerabeck has a long and demonstrated track record for
making people happier and more successful. This is no easy job. He often did this at great personal
sacrifice and I ask you to consider my comments as you review the case. Thank you for your
consideration

Sincerely,

Krai g Kayser

President and CEO
Seneca Foods Corporation
3736 South Main Street
Marion, NY 14505

5 85-230--03 12

 
 
  

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The Solution to Your Business Legal Needs

 

october 12, 2018":"

Hon. David G. Larimer

United States District Judge

United States District Court for the Western District of New York
100 State Street

Rochester, New York 14614

Re: Craig J. Jerabeck

Dear Judge Larimer:

Please accept this as a letter of strong support and attestation of character for Craig Jerabeck in
connection With the proceeding currently pending before you.

l have known Craig for almost 20 years, first as a valued business client and then as a cherished
friend.

l Was initially introduced to Craig in 2000 by other clients and have had the opportunity to get to
know him well over many years of assisting him with numerous business and personal legal
matters He is a consummate business professional and executive who extends fair and
compassionate consideration for each person he encounters in his path of life.

We have grown especially close recently due to the challenges he currently is facing, and l
welcome the opportunity to better acquaint you with the person and man that Craig is.

First and foremost, Craig has accepted full personal responsibility for the issues currently before
you, despite the involvement and roles of others in the matter. lie regrets that had he been a
stronger executive and person and made some management and leadership decisions differently,
the history of 5Linx Enterprises, lnc., and the experience of its investors Would not have been
-tarnished by the challenges at hand.

He is mindful that his reputation and character are forever blemished, despite his tremendous
business accomplishments his generous charitable contributions of time and money to so many
communities and organizations and his life as a devoted father and family person

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SteinbrennerLaw.com ro4 Troup Street
Ph,one [ 585 730 7357 Rochester, NY 14608

 

FEX l 585 486 6555
. 297 Parkslde Dr. #407
Canandaigua, NY 14424

Craig’s business skills have benefited and improved the lives of thousands Through hundreds of
quality jobs directly created by three different successliil companies as well as the indirect
economic benefits to the numerous suppliers and customers of his businesses Craig’s\_w
entrepreneurship has positively impacted countless individuals across the country and around the
world,

Additionally, he has given so much over the years to the communities his businesses served or
were involved with. A key belief and value of Craig is that businesses have the responsibility and
obligation to give back to the community. Craig personally has always been committed to
volunteering his time and skills for service on non-profit and charitable boards ARC of Monroe
County and the National Center for Missing and Exploited Children are two that come to mind
Evidence of his commitment to others is also evident from the sizable business and personal
donations he has coordinated or made over the years He has even personally volunteered for
hands-on charitable work to help those in need when time permitted

His love for his family goes beyond saying. He frequently spends much time with his mother which
brings incredible joy to her. He often gets together with his son and two daughters, who all have
grown into incredible young adults as a result of Craig’s fatherly guidance and loving care.

ln short, l cannot say enough about Craig as a Wonderful father, friend, and person He is generous
kind, and a considerate human being for which the present situation is so out of character and
totally inconsistent with. 'l`he Craig Jerabeck that l know and have experienced is someone who,
upon learning that l was trying to line up attorney office space on short notice, immediately
contacted me and graciously offered me an extra office he had available at his business premises
until l could procure something better Others l know have similar stories of Craig reaching out
and assisting them with something simply because it is part of his inherent nature to want to help
others

While others may question his basic integrity, honesty, and trustworthiness l do not. l have seen
these qualities become even stronger in the face of the recent challenges The measure of a person
is how they face adversity, and by that criteria, l believe Craig should be and can be easily
recognized for the quality person he is.

He is moving forward with his life, actively working With his son in the renovation and
improvement of substandard real estate properties in the Greater Rochester area, again bettering
the lives of many. Society will only benefit from Craig being able to continue his personal life as
quickly as possible

My high opinion of Craig has not been diminished by the recent circumstances and l
wholeheartedly support Craig being given the greatest of consideration and leniency in this matter.

Very truly

 

Carl A. Steinbrenner, Esq.

October 4, 2018

Dear Judge Larimer,

My name is Elizabeth Watson. I am Craig Jerabeck’s oldest daughter, and am writing to you in anticipation of my father’S
upcoming sentencing hearing I am 28 years old, and I live in Syracuse with my husband and our dog. l am an HR

Consultant, and my husband is a Financial Planner.

I find myself rather stymied by the idea of conveying my entire life experience with my father to you in an adequate way.
However, I will do my best to communicate the man I know and have grown up with and the values that he has instilled in
my siblings and me. My hope is that you will take away a more fully formed idea of the person my father is and the values

that he has instilled in his family, and will be able to use that insight to inform your decision

Throughout the entirety of this seemingly never ending epic, there has been a focus placed on monetary value; the value of
a property, the amounts owed and paid to investors, the total of taxes paid or owéd. Contrarily, the memories that I gravitate
towards most are not those involving money, but are the memories involving time together. Beginning when I was a little
girl, my siblings and I would each have “special time” with our dad. My favorite “special time” activity was going to get a
coffee -mine was mostly hot chocolate With a splash of coffee and lots of Whipped cream. As I got older, I joined the crew

team. My dad would come to all of our regattas and ride his bike along the entire route to Watch.

With all of that being said, one of my favorite memories is going on college visits with my father, He and l sat around a
map and drew a 6-hour radius from Rochester We went through the list of potential schools together, and then went on a
corresponding road trip to check them all out. It was enlightening to hear about my dad’s college experience, and What he
hoped to come from mine I ended up completing my undergraduate degree at Geneseo, right down the road from
Rochester, and then went on to get my MBA at RIT. lt turned out that my dad and I didn’ t need to traverse the East Coast m

search of a college, but I am immenser glad that we did.

We also spent time as a family giving back to the community. My dad and I Went to Texas one year With a group of first
responders from Ground Zero on 9/ll. We spent several days in September rebuilding a home for veterans that had been
destroyed` m a natural disaster as a constructive activity on the anniversary of 9/ ll My mother has always been actively
involved m the community, and each year, our family would adopt a family for Christmas to ensure that they had food,
warm clothes and gifts for the holiday season. As an adult, I am a member of the Advisory Council Board for the Early
Head Start of Syracuse. Each of these philanthropic experiences and countless others contradict the picture that has been
painted throughout this case, It ls difficult to align the life experiences and values that have been instilled m my family with

the case over which you are presiding

lt is my sincere hope that this information demonstrates to you the person that I know my father to be; a person that is

focused on the well-being and happiness of his family, as well as strangers Thank you for your time and consideration

Sincerely,
Elizabeth Watson

Hon. David G; Larimer w Katherine lerabeck
100 State Street 127 West Church St.
Rochester NY Fairport NY

Dear Judge Larimer,

My name is Katherine Jerabeck and l am writing this letter to you on behalf of my father,
Craig lerabeclc l am the youngest of Craig's three children, l graduated this past year with
my Master's degree in Reading and Literacy and am embarking on my career this year
teaching high school English in my alma mater.

To write a single paged letter describing the character of my father for his sentencing is
incredibly painful and a daunting task. What do l share? The countless hours we spent
swimming together during the summer? Playing on the swing set in our backyard that he
and my grandfather built themselves? The times I would nudge him when he fell asleep
reading The Bernstein Bears books to me before bed, and then he would read 3 more?
Those are all examples of time spent with my father, but l am going to share with you my
favorite Dad and Kate things eating grilled cheese.

Growing up, l was a competitive dancer. l trained in ballet, pointe, tap and jazz nearly every
day after school for multiple hours. l loved it, and my parents nurtured that love. Every
night after dance, the rest of my family would be getting ready for bed, and Dad and l Would
eat grilled cheese for a second dinner together. We would try out new breads; debate
mayonnaise vs. butter; dip it in different sauces; and pick our favorite sides (a pickle), all
while talking about our days. Some days they turned out amazing, some days we burnt
them; regardless, Dad and l sat at the kitchen counter and ate together.

l am a teacher now, and my students share with me their experiences-~their family Woes
and triumphs, goals and setbacks. lt often strikes me, as I walk the halls of my old high
school wearing my “Teacher" badge, how incredibly lucky l am to have parents like mine. l
became a teacher because of all that they taught me. We read together constantly, and
through literature my parents fostered in me a love of learning.. g '

The past few years have been difficult Our family is strong; we have always been a team.
But this has been a marathon for which none of us signed up. The most difficult aspect of
this experience has been the discrepancy between my knowledge of my father, and the
current case. My father once actually fell into the Erie Canal trying to retrieve a napkin that
had fallen in because he had always taught us not to litter. This case and the media
surrounding my father is not the Craig Jerabeck that l have known for the past twenty-

three years of my life. l hope that these letters offer a glimpse into Craig ]erabeck from
those who know him.

l appreciate the opportunity to share this information with you, and l sincerely appreciate
your time. »

Sincerely,

Katherine lerabeck

Scanneo| with CamScanner

EXH|B|T C

Craig Jerabeck has over 30 years of business-building experience both domestically
and internationally, doing business in numerous countries in Europe and Asia.

For the past 22 years he has been involved in entrepreneurial ventures, founding four
successful companies.

His latest venture, Ascend Global Services (successor to 5.0 Energy LLC), is a provider
of essential services for home and office. The Company represents brands such as ADT,
D|SH, Direct Energy, Solar Energy, and many more.

He was a founder and President/CEO of 5L|NX® Enterprises |nc. since 2001. He was
formerly the President/CEO and founder of @Wireless Enterprises, a franchiser of
wireless retail stores. @Wireless operated 78+ stores in 11 states. He founded Cellular
Unlimited Corp., which operated 23 shopping mall based retail stores in NY, MA, R|,
NJ, DE, and FL.

Jerabeck spent two years as the General Manager of Cellular One (later AT&T) in
Rochester, NY, and eight years with AT&T in sales and sales management. He has an
MBA and a B.S. Finance from the State University of New York at Buffalo.

Craig Jerabeck is an Ernst and Young Entrepreneur of the Year winner and Retailer of
the Year Winner. He served on the Wireless Advisory Board for the Consumer
Electronics Association. He has served on several not-for-profit boards, including the
ARC of Monroe County, New York Says Thank you, and Catholic Charities. Additionally,
Mr. Jerabeck served on the Advisory Board of the National Center for Missing and
Exploited Children.

Craig Jerabeck’s companies have been on the |nc 500/ 5000 list nine consecutive times
and on the Rochester Top 100 Companies nine times. Jerabeck was recently honored
by the University of Buffalo with a Lifetime Achievement Award, "the award
recognizes significant sustained accomplishments that are truly extraordinary, widely
recognized and as such of positive and lasting quality.”

Jerabeck has also been a supporter of numerous charitable organizations supporting
children's advocacy and wounded veterans.

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The Handbook of the American Entrepreneur

 

 

 

 

Company Profile 5LINX Enter-
prises, Inc., headquartered in Rochester,
New York, Was founded by three vision-
aries, Jeb Tyler, Craig Jerabeck, and ]ason
Guck, With over 40 years of combined
experience in the telecommunications
and direct sales industries, they built
5LINX based on the principles of: Vision,
Integrity, Opportunity, Freedom, and
Success. Their mission: to create a corn-
pany where the representatives come first
Committed to staying at the forefront
of marketing the latest in cutting edge
technology, 5LINX has partnered With
some of the largest companies Within the
telecommunications industry to offer
the most extensive range of products and
services, This enables the thousands of
5LINX representatives across the country
to have a unique competitive advantage
Recently, 5LINX launched its own
platform, GLOBALINX, for Voice over
Internet Protocol, or VoIP, digital phone
service. Through this service, and the
exclusive GLOBALINX VideoPhone,

 

5LINX nncerprises nn sss mt
400.8% Three-Year Ernwth ____

fUUNDED: 2001 Rochester, N.Y.

5L|NX sells through a direct sales force the
GLOBAL|NX VideoPhone, VolP and "
wireless services, and many other

products and services making ita one
stop shop for telecommunications
needs. CEO Craig Jerabeck /
says strong consumer interest 4_
in VolP helps 5L|NX recruit
representatives and sustain
fast revenue growth.

    
 
  
 
 
 
 
 

 

5LINX

1500 |\/|ethodlst l-|i|l Drive, Suite 1500
Rochester, NY 14623
585-359~2922
Fa><: 585-359~0233
www.5L/NX.com

 

 

 

About the IIIG- 500 This year, Inc. magazine
celebrates the 25th anniversary of its annual rankin of the

` fastest~growin privately held com anies in the Unite States.
These companies are where the action is_they’re lea ers with cutting-c ge business models whose
rapid fgrowth shows that they’ve figured out how to meet the most pressin needs of todag"s economy.
Data om investment research firm Morningstar shows that only 33 pub icly traded U. . companies
show three- ear revenue growth higher than the No. 1500 company on this year’s list. The lnc. 500’s
illustrious a umni roster includes such household names as Microsoft, Oracle, E-Trade, Domino’s
Pizza, ]iffy Lube, and Super 8 Motels.

 

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l lannone says way
out of slump is with
small, medium firms

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The way out of the recession
and into a sustained recovery is
through small- and medium-sized
businesses, ones that didn’t rely
on a federal bailout.

That was the assessment given
Thursday by John Iannone,
founder and CEO of Auction Di-
rect USA, the No. 1 company in
the 2009 Rochester Top 100, as he
spoke at the 23rd annual luncheon
honoring the region’s fastest-
growing private businesses

The event drew 1,800 people to
the Riverside Convention Center.

Economists have said the vast
majority of new jobs after the
1990-91 and 2001 recessions were
created by small businesses,
though there is concern that such
businesses might lack the finan-
cial strength to repeat their past
hiring successes.

Iannone acknowledged that
during the depths of the reces-
sion, lending from banks tight-
ened considerably The Federal
Reserve said this Week that credit
remains tight.

But the positive statements
echoing through the convention
center indicated that Top 100
businesses are upbeat about their
prospects coming out of the eco-
nomic downturn.

Executives of the No. 2 com-
pany, the telecommunications
firm 5Linx Enterprises Inc., said
their goal is to build revenue from
an anticipated $52 million this
year to $1 billion in five years.
CEO Craig ]. Jerabeck said the
company is having a good year
despite the recession. 5Linx re-
cently bought a portion of a

smaller telecom, Kancharla Corp.
ar Hnnrsville. N.C.. for $3 million.

 

 

CARLOS ORTlZ staff photographer

John lannone, CEO of Auction Direct USA, ranked No. 1 company in
Rochester, speaks at the Rochester TOP 100 luncheon Thursday.

And No. 3 Optimation Technol-
ogy Inc. said it has positioned it-
self ' for
further
growth
when its
business
clients be-
gin to
spend
more
freely.

Ian-
none’s
Auction
Direct
burst into
the Top
100 this
year, win~
ning the
No. 1 rank-
ing in its first year in the program,

which is sponsored by the Roch-
ester Business Alliance and the

    

CARLOS ORTlZ

staff photographer
Craig Jerabeck, CEO
of 5Linx Enterprises,
with the second-
place award.

 

accounting firm KPMG. He said
before the luncheon that the 200-

employee
company
took a dif-
ferent ap-
proach to
used car
sales and
capital-
ized on the
Internet to
gain a na-
tional
reach.

The
Victor-
based
company
has four
locations:
two in the
Rochester area and in ]ackson~
ville, Fla., and Raleigh, N.C. n
lFSTlNSO@DemocratandChronicle.com

CARLOS ORT|Z
staff photographer

William Pollock, CEO
of Optimation Tech-
nology, accepts the
third-place award.

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‘~ chester’s Top 100
businesseshonored

CARLOS ORTlZ staff photographer

From |eft: Optimation CEO William Pol|ock; 5L|NX Vice President of Sales Jason Guck, Executive Vice President Jeb
Tyler and CEO Craig Jerabeck; and Turner Bellows CEO Amanda Pontarella and. Vice President Joseph Merry at the
Rochester Business Alliance Top 100 awards luncheon Wednesday.

Crowd cheers, celebrates roll call"ofwinnei`s§ `

SEAN DOBBIN
sTAFF wRiTER

When their company’s
name appeared on the
screen, employees from
IBC Engineering .PC
hooted and hollered and
gave themselves a standing
ovation. Not to be outdone,
SPS Medical Supply Corp.’s
table rang bells and
pumped their lists as they
whooped about their com-
pany’s ranking

And when the logo of
Turner,Bellows Inc. finally
appeared, employees of
Rochester’s fastest-grow-
ing privately held company
threw their napkins' in the
air in celebration.

Always a spirited event,
the Rochester Business Al-
liance’s Top 100 luncheon
drew a crowd of 2,000 area
businesspeople to the
Riverside Convention Cen-
ter on Wednesday after-

noon. When the list was
announced 1n reverse or-
der, applause, whistles and
shouts filled the ballroom,
as each company cel-
ebrated its recent success.
For No. 1 company,
Turner Bellows, a Roches-
ter-based contract manu~
factur.er, the top spot on
represents a peak m
as been a rollercoas-
ter ride for the 73-year old
company. After a freak ac-
cident took the life of then

   
 

company owner Richard tr

Pontarella in 1998, Turner
Bellows struggled to find
its way in an increasingly
difficult manufacturing cli-
mate. .

But thanks to a willing-
ness to take on a wide vari-
ety of manufacturing jobs,
the company rebounded
and is now on a upswing.
Twenty-eight year old

Chief Executive Amanda

    

0nline Extra

DEMO0RATANO0HRON|01E. 00M
b Click on this story to
search a database of the
Top 100 companies.

 

Pontarella, Richard’s
daughter, accepted her
award along v
President ]ose
and said that she w ted to
talk about her father, but
thought it was best left to
her colleague.
.“]oe had to do the part of
the speech about my father
because 1 didn't want to
tear up in front of 2;000
people,” she said afterward
Optimation Technology
Inc., a Rush-based engi-
neering and fabrication
firm, and 5Linx Enter-
prises, a Henrietta pro-
vider of voiceover Internet

   

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THEINAUGURAL
UNIVERSITY AT BUFFALO

ROCHESTER ALUMNI DINNER

THUR'SDAY, ]UNE 4, 2015 .
CASA LARGA VINEYARDS WINERY \.S~= FAIRPORT, NY_

 

coC'KTAIL HOUR

DINNER

" WELC QME f v
Matthe`w R. Prok,~ BS ’1 1, BA`*1 1
Rochester Chapter President

b REMARKS f
Law'rence I. Zielinski, MBA ’77, BA ’75`
yE)cr:cutive Director, Ojice' of Alumni Engagernent

AWARD PRESENTATIONS
~ Young Alumni Award

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.»"\»

ii ' ` ` Presented by Christoph'er`]. Daly, PharrnD ’12,'MBA ’1§.

g y t i ' " Distinguished Alumni Award
` t Presented by Cynthia yM. Shore, MBA ’83, BS ’81

Lifetime Achievement Award
Presented by Iohn` G. Doer ]`r. `

g REMARKS
Mary Garlick~Ro]l, MS ’88, BS ’84
` ~ President, _UB Alumni Association

CLO»SIN`G REMARI<S
~Matthew R§ Prok

 

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LIFETIME ACHIEVEMENT AWARD

CRAIG I. ‘lERABECK, MBA ’84, BS ’83
ROCHESTER, NY

Craig Jerabeck is founder, president and CEG of 5LINX°°
Enterprises, Inc., .a direct marketer of telecommunications
products Whose services include VoIP, Wireless, satellite and
local telephone services. As president, lerabeck has implemented
new business strategies, technologies, processes and disciplines,
leading to significantly reduced operating costs and enhanced
productivity In 2012 the company Was ranked No. 1 in the

. Rochester Business Alliance’s “Rochester Top 100. ” Prior to his
role at 5LINX, Jerabeck Was founder, president and CEO of @
Wireless Enterprises, a franchisor of Wireless retail stores. .

 

Jerabeck has participated in multiple boards including Arc`of
Monroe County and the Genesee Valley Trust. He Was named
Entrepreneur of the Year in 2003 by Ernst and Young, Retailer of
the Year in 2004 by Entrepreneur Magazine, and most recently
ranked #2 in the Rochester Top 100 (2009).

Jerabeck holds a Bachelor of Science degree and a Master
` of Business'Administration degree, and is a generous UB
supporter, both as a donor and a volunteer.

The Lifetime Achievement Award 1 ~
- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

The Lifetime AchievementAward is presented to University at Bujalo alumni living 111 the Rochester 4
area, for their significant sustained accomplishments that are truly extraordinary widely recognized y
as such, and of positive and lasting quality The awardee will be honored far creatinga legacy that will `
be remembered for years to corne. ‘

4 l UNIVERSITY AT BUFFALO ALUMNI ASSOCIATION

 

 

 

University at Buffalo

I]§ Schoo| of l\/\anagement

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School of Management > About > Alumni Success > jerabeck

The telecom magnate

iANuARY 2016

Craig Jerabeck, BS ’83, MBA ’84, is co-founder, president and CEO of 5LINX Enterprises,
a direct marketer of telecommunications products energy services, security systems
wellness products and more for consumers and businesses

The Rochester»based company has made the |nc. 5000 list ofthe fastest-growing companies consecutively for
the past nine years and has rocketed from a bootstrapped startup to a global operation with $135 million in
annual sales

Hcrd lessons

Bacl< in 1994, jerabeck founded his first business Cellular Unlimited, a cellphone retailer that would grow to 23
stores before he sold it in 1997. Success didn't come easy. To raise startup capital, jerabecl< mortgaged his house~
but his partner bailed.

”| ran out of money two weeks before Christmas and had nothing, no inventory on my shelves and no cash,” he
says "That was the first major hurdle-learning that everything that can go wrong would."

A new model

Next,jerabecl< founded @Wireless, a cellphone franchiser that operated 78 stores in il states During this period
from 1997 to 2004, 5LlNX was born. Constant|y searching for new distribution channels,jerabeck and co-founders
jeb Tyler, BS '96, andjason Gucl< decided to start their own.

"The challenge was learning a different business model,” saysjerabecl<, who was named Entrepreneur ofthe Year
by Ernst & Young in 2003. l‘This is about trying to get people passionate aboutjoining your business Getting
recruitment to be predictab|e, stable and measurable Was the biggest challenge because it was foreign to me."

Company culture

With 235 employees and 95,000 sales reps in eight countries,jerabecl< says a strong company identity is vital to
5L|NX’s success ”lt's building a sense of family and making people feel like they belong,” he says "We always talk
about, 'What's your why?' We want to understand what's driving you to take on a part-time sales business."

The perl<s aren't bad, either. Top performers earn vacations Bentleys and other incentives ”One of our most

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/njune, jerabec/< received the
Lifetime Achievement Award from
the UB A/umn/'Assoc/'afion's
Rochester chapter. From

left.' Chr/'s)‘opher D/'eh/, PharrnD/MBA
72, who accepted the Young Alumni
Award,'jerabec/<; andj. Michae/
Co/ye/; MBA ’96, Who received the
Disf/'ngu/`shed A/umn/` A Ward.

successful people used to drive a bus Now, he wears $2,500 suits and has written a boo|<,”jerabecl< says "He's an ordinary person, and other people

see that. That can be enormously powerfu|."

l/l/r/'rten by Matthew B/'dd/e, this story origina//y appeared as part of the cover feature in the autumn 2075 issue of Buffalo Bus/'ness

All Stories l Previous Story l Next Story

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Craig Jerabeck ’83, MBA ’84, is co-founder,
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marketer of telecommunications products, ener-
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part-time sales business.”

The perks aren’t bad, either. Top per-
formers earn vacations, Bentleys and other
incentives “One of our most successful peo- '
plc used to drive a bus. Now, he wears $2,500
suits and has written a book,” Jerabeck says
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see that. That can be enormously powerful.” Ph°i°i Rl°l‘ Fla"°

 

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roo|ucts to 'Li'\/e a Be ter:r i
‘Culture of Giving’ to Chi~ldren `
“Hi5”-to Health
Revo|utionary, “Hea|th-|nspired”
Pro@|ucts for |\|utrition and Wellness

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Network Marketing:

Find the American Dream

 

$5.95
, . 5L|NX lin-Founders Jeb Tyler,
VOLUN|E 11 IS$UE 1 JANUARY 2015 Craig jeraheck and Jason Guck

 

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Company nami

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5L|NX burns ns own voice over '”Cg::£:d";
|P telecommunications system, On Rochest
enabling it to launch GLOBALli\lX@ Top 10

VolP service The same year, it moves
into its 50,000-square-toot vvorld
headquarters building in Rochester, l\l.Y.
Ranked #338 on lnc.’s 500 list, #40
on RochesterTop 100.

SUNX launches its

   

 

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5LlNX promotes its
first P|atinurn Seni
Vice President anc
awards its first
silver Bentley. Novi
24 sales leaders
drive one. Ranked
#439 on /nc. 500;
#3 on Rochester

Launch me 5L|NX High Launch of 5Lll\lX l\/lobi|e
Speed internet and 5LlNX Secunty
Systems. Ranked #336

on /nc. 500; #5 on

Rochester Top 100,

 

 

 

5l_lNX has first National
Training Event and
promotes first Senior
Vioe President

Top 100.

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An enhanced
compensation plan
attracts energetic
representatives and
sets the stage for
record growth

Inc.

 
 

 

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5LINX begins offering energy services
., and launches TextAlerlz, ChurchAlertz,
Busiriess E|ite Services and 5LlNX
Payment Solutions. Ranl<ed on Inc. 5000,

  
  

#94 on RochesterTop 100,
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' fastest~growing company

in its hometown ot
Rochester, N.Y.

 

   

5L|NX laimctres l

and expands
5L|NX Energy.

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Launch of 5LlNX High Speed internet and Fiber
Video, 5L|NX SafeScore, Globalinx Mobi PrePaid
Wire|ess, 5L|NX enhancedcarel\ADSM and l\/lLSalerlz;

further expansion of 5LINX Energy,

5L|NX promotes tour new PSVPS and is
unlme named m osweiosai 100 for second
time. Raiiir.ed on ma 5000.

   

 

 

sales records

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in ei §
5LlNX enters the
nutrition market With
l\/lontaVidaTM Coffee.
Company shatters

 

    

Hi5 products and
$55,000 Hi5 Challenge
launched Tony Robbins
highlights l\/lay Event,
expansion of 5LlNX
enhancedcarel\/lD,
company rebranded |ogo.

 

 

 

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PSVPs enjoy inaugura|
Platinum trip to Greece and
Turl<ey. 5L|NX named to
lnc. 500/5000 for ninth
straight year,

0 ran sui\ix enos 5Linx ruei, en
energy shot, to its Nutrition
line and launches 5LlNX
enhancedcarel\/lD Smart
Choice Bundie, enabling
customers to find the best
health insurance for them.

VOLUME ll NUMBER l 47

EXHlBlT E

A Gathering of
Choritoble Spi

5L|NX helps the »needy, at-risi<,
sick and torgotten.

 

   

by Beth Doug/ass Si/cox

 

 
 

' here 5LINX representatives gather, so, too, does a charitable spirit
to help the needy, at-risk, sick and forgotten, and those Who simply
want to make the world better for themselves their families and
their communities

5LINX waives giving back tightly into their culture. “We teach our representa-
tives that giving back is a normal part of business success They need to give back
to their commun,ities,” says Co»Founder, President and CEO Craig Jerabeck.

So 5LINX gives representatives simple Ways to pay their blessings forward
Every SLINX Intemational 'l`raining Event benefits a philanthropic organization:
getting kids off the streets and into safe environments, casing the pain of the West
Webster Fire Department reeling from tragedy, Sending Anaheim’s childhood
cancer survivors to camp or building a new wing of a local children’e hospital

At these lnternational Training Events, seated With thousands of others in a
convention center, representatives glimpse the true impact of their giving ln the
years since Hurricane Katrina, 5LINX has gathered in New Orleans, and each
time they hud a way to help.

After a 5LINX gift to a local hospital to help fund treatment for uninsured
children, Jerabeck says, “People from New Orleans got up on stage to tell their
personal stories and l don’t think there Was a single eye in the place that Was dry
after listening to these people talk about What they have been going through since
Katrina. So many people are still affected and many people in this country don’t
understand that.”

Keeping his composure on stage can be tough, Jerabeck admits but “they are on
stage telling their stories because they feel so touched that there are people like us
Who Will help.’° lie and every 5LINX representative are proud philanthropy plays
an important role in this business

“Everybody feels better about themselves when they are helping others, and this
business helps people do something positive that they otherwise wouldn’t be able
to do,” Jerabeck says “Many of our reps would not be in a position to be donating
money to a charity Were it not for their 5LINX side business Many people get
involved because they need extra money for school tuition or making payments at
home, so we help in a big way in terms of providing the financial opportunity so
they can give back in their communities.” `

The sentiment of giving back to the local community holds true on a corporate
level as well. ln addition to sponsoring golf outings, United Way campaigns and
myriad other local funding and awareness campaigns 5LINX steps out in a unique
Way to grow entrepreneurism in upstate New York.

Two years ago, 5LINX pledged 0050,000 to Venture ,lobs Foundation, a not-for-
profit venture capital fund aimed at helping people start businesses in economi-
cally depressed areas of the greater Rochester, Buffalo and Syracuse areas

‘°'l`he money is given based on business plan and need. The money is granted
and no repayment is expectec ,” Jerabeck says Unlike a for-profit venture capital
fund, Venture _lobs Foundation is not looking for a return for profit lnstead, any
returns outside the money lent goes back into the fund to create more jobs

“We did this as a grant or a gift to help small businesses Think about what We do
for a living,” Jerabeck says “We create entrepreneurs and encourage the growth of
entrepreneurship, so this is yet another way for us to live those values.” Sfl'l

 

    

“This business helps people
do something positive that
theg otherwise wouldn’t be
able to do."

~Craig Jerabeck, 5LINX Co-Founoler,
President and CEO

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¢Culture of Giving’ to Children

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voLulv\E 11 - issue 1 - JANuARY 2015

 

“Hi5” to Hea|th
Revo|utionary, “Hea|th-lnspireo|”
Proo|ucts for Nutrition and We||ness

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NetWorkMarketing: »

Fino| the American Dream

5L|NX ffc-Founders Jeb Tyler,
Craig Jerabeck and Jason Guck

 

 

 

5L|NX inspires a culture
of helping childrenl

by Beth Douglass Silcox

ive up just one restau-
rant meal.” This simple
request made of thousands
of 5LINX representatives
at three International
Training Events each year
has a tremendous impact
on the youth of host cities around the country.
Funds raised during these events are matched
by the company and reflects SLINX’ culture
of giving. “We Want to let all of our repre-
sentatives understand that giving back is
important, and if we Work as a team We can
make big things happen,” says Co~Founder,
CEO and President Craig Jerabeck.

 

VOLUME ll Nl lMF¢FRi

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Since its founding in 2001, 5LINX has reached out
to local charities in this way, usually With an eye on
helping youth. Children’s hospitals, a New Orleans
medical center for people unable to get medical
coverage, a center for missing and exploited kids in
Las Vegas and many others have all received help
from SLINX.

“Before bringing our lnternational Training Event
into a market,” Jerabeck says, “we ask our field for
input and many times get great insight from leaders
in the field as to what charitable organizations are
doing a good job in the community.”

By selecting charitable organizations that are
important to the 5LINX representative base in those
host markets, the company cultivates a sense of phil-
anthropic pride among attendees who give. “People
feel good when they give. There’s no better feeling in
the world than helping someone else,” Jerabeck says.
“Our job is not just to help people make money, but
to help people improve themselves whether that is
helping them become better public speakers, better
citizens or better leaders. Part of that is by under-
standing that we have obligations in our community
to give back.”

The real power of the 5LINX Opportunity lies not
only in the ability to earn more money, but also in
the choices available to representatives as a result
of that extra income. “Having success and creating
a successful lifestyle is really exciting, but it’s really
the power of what money can do,” says Co-Founder
and Executive Vice President of Sales ]ason Guck.
“Watching our field leaders take their wealth that
they’ve created within the company and share it
when there’s a need is tremendous.”

“We really have some very, very generous repre~
sentatives. It’s one thing to be able to make money,
but when you can give back like ours do it’s going
above and beyond,” jerabeck says.

For some of the company’s top money producers,
giving at 5LINX International Training Events fuels
a desire to do more. Several have expanded their
charitable efforts and created their own foundations
within their local communities Some have been
recognized nationally for the service they provide.
“It’s really been exciting to see the leadership within
the company follow suit with what began at 5LINX
events, and continue to keep giving and making an
impact in their own communities,” Guck says.

Beyond the lnternational Training Event

    

“WATCH|NG UUR F|ELD
LEADERS TAKE THE|R
WE‘ALTHTHAT THEY’VE
CREATED WlTH|N THE
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-~JASON GUCK,

5L|NX CO~FOUNDER AND
EXECUT|VE VlCE PRES|DENT
OF SALES

fundraising efforts, 5LINX corporate philanthropic efforts
include hands-on projects like Habitat for Humanity, Toys for
'l`ots, holiday baskets and food drives for kids and disadvantaged
families, as well as assorted fundraising and awareness golf tour-
naments, runs, and walks across the country. SLINX corporate
employees and organizations like Safe Haven, a homeless housing
program, and Dream Factory, dedicated to making the dreams
of sick children come true, find support through cause-related
giving campaigns through payroll deduction

5LINX also supports the fundraising efforts of nonprofits
through the LINXZFunds program. Vice President of North
American Sales William Faucette, Jr. says, “We’ve created an
entirely different and unique compensation plan that allows
organizations to build businesses in 5LINX and get the residual
benefit. That can be most significant to nonprofits, most notably
in the faith-based cornmunity.’7

“Giving creates a responsibility, a sense of pride, and it makes
you feel good to be part of an organization that’s looking to
constantly do what they can to better society and to better
communities,” Guck says. l

 

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DiNapoli: |nvestment in Rochester Company
Returns $6.7 l\/Ii||ion to State Pension Fund

|n-State Private Equity Program lnvests in New York State-Based Companies

5LINX, a telecommunications company located in Rochester, has
generated an estimated $6.7 million return, nearly four times the initial
investment, and achieved an approximated 21 percent internal rate of
return for the New York State Common Retirement Fund (Fund), New
York State Comptroller Thomas P. DiNapoli announced today. The Fund
invested in 5LINX through its In-State Private Equity Program, which
seeks profitable investments in New York State-based companies

“The success of the 5LINX investment is another example of how the
In-State Private Equity Program delivers positive results for the Fund
and for our local communities,” said DiNapoli. “The program has
successfully helped more than 250 companies remain and expand in the
state and has supported nearly 4,000 jobs. The state public pension fund
is investing in New York’s future.”

Trillium Group, a fund manager for the lit-State Private Equity Program,
received a $25 million commitment for venture capital funding in 2004.
Trillium has made 14 investments in New York State-based companies,
including 10 companies located in and around Rochester. 5LINX
received $l million in 2006, $600,000 in 2007 and $100,000 in 2009.

“5LINX represents another great example of what can happen when you
connect a talented group of founders with private equity capital from
New York State’s Common Retirement Fund. 5LINX has gone on to
experience significant growth and business success culminating in a
return of capital to the Common Retirement Fund with a very attractive

rate of return. A win for all parties involved,” said Chris O’Donnell,
general partner for Trillium Group.

5LINX has operations in the United States and Canada. The company
provides a range of telecommunications and other services for
residential and business clients The company, founded in 2001 , was one
of Inc. magazine’s 500 fastest growing companies from 2006-2009. In
2012, 5LINX was named the 77th largest direct sales company in the
world by Direct Selling News.

For more information on the program, visit: http://www.osc.state.ny.us/

pension/instate/

About the Common Retirement Fund

New York State Comptroller Thomas P. DiNapoli is trustee of the New
York State Common Retirement Fund, the third largest public pension
plan in the United States with more than one million members, retirees
and beneficiaries from more than 3,000 state and local government
employers The Fund has a diversified portfolio of public and private
equities, fixed income, real estate and alternative instruments and has
consistently been ranked as one of the best managed and best funded
plans in the nation. Over the past 20 years, 82 percent of the cost of
benefit payments has been funded by investment returns The Fund’s
fiscal year ends March 31 , 2014.

About Trillium Group, LLC

Trillium Group is a Rochester-based venture capital group with a
primary focus on growth equity investment opportunities located in
western New York, Trillium’s current portfolio consists of more than 20
companies in a broad range of industry sectors and businesses http://

www.trillium-group .com/

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https://rbi.net/2006/09/22/trillium~grouD-state-pension-fund-invest-in-Slinx/

Trillium Group, state pension
fund invest in 5Linx

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Henrietta telecommunications services provider 5Linx Enterprises Inc, this year has
doubled its employment to 34 and expects to grow by another 75 percent as a result of
a multimillion-dollar equity investment from the Trillium Group LLC and the New York
State Common Retirement Fund.

“We're hiring right now," 5Linx president and CEO Craig Jerabeck said Wednesday.
“We're in the process of hiring six full~tirne people We expect by the end of the October
to have a full-time head count of 42.”

The amount of the investment was not disclosed The Trillium portion comes from its
Lakefront Partners III Fund, which typically makes investments ranging from $2 million
to $5 million.

"It allows us to build our own infrastructure," Jerabeck said of the infusion of capital.
“We're buying our own switching equipment lt allows us to grow the business and, in
essence, become a telephone company. V\/e’re becoming our own VOIP provider/’

The company sells telecom products and services, with an emphasis on voice over
Internet protocol, to residential customers and small to midsize businesses worldwide
It uses an independent sales staff of 10,000 to market its products and has 100,000
residential and business customers in the United States and eight other countries,
Jerabeck said.

“Their direct sales model sets 5Linx apart from its competition," Trillium general partner
Christopher O’Donnell said in a statement “The company benefits significantly from an
independent, entrepreneurial sales force,, Such independent representatives are
operating their own businesses with product, marketing and customer service provided
by 5Linx.”

The company was founded in 2000 and started doing business in March 2001. “Our
sales are growing dramatically,” Jerabeck said. “It's just five years of grinding it out."

A key moment for 5Linx may have come in March 2005 when the company increased its
focus on VOIP, Jerabeck said.

“That was really a turning point for our sales force and for our company (because) we
had a solid direction and a solid product line to go forward with," he said.

The company has increased its office space here to 11,000 square feet, from 7,500
square feet, by adding a 32-seat customer service center that will be installed next
week. lt is scouting potential locations in Atlanta for a field office, Jerabeck said.

This month 5Linx joined Inc. magazines list of the 500 fastest-growing private U.S.
companies It is ranked 338th.

"We think next year at this time we’ll be somewhere in the neighborhood of 60
employees,” Jerabeck said.

The investment from Trillium Lakefront Partners is its seventh, the fourth to a
Rochester-area company. The state retirement fund is the largest single investor in the
Lakefront Partners fund.

Previous Lakefront Partners investments were made to:

- AccuMED Technologies Inc. of Buffalo in Ju|y;

- Accu~Dyne Inc., a Rochester sheet metal components and fabrication firm, in May;
- Auction Direct USA, a pre-owned vehicle seller in Victor, in April;

-- Election Services Corp., a Long Island election software and services company, in
August 2005;

-- Northern Safety Co., a safety and industrial supply firm in Utica, in June 2005; and
- E-chx Inc., a payroll processor in Brighton in December 2004.

The Common Retirement Fund, the secondelargest public pension fund in the United
States, is administered by state Comptroller Alan Hevesi. lt has assets of $120 billion,
including its $364 million in~state investment program

“Investing in New York State companies such as 5Linx is one of the best ways to earn a
competitive return for the state's pension fund and to help these companies to grow
throughout New York State and beyond,” Hevesi said in a statement

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